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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 STEVEN CHURCH, et al.,
      Plaintiffs,
      v.
                                                         Civil Action No. 21-2815 (CKK)
 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,
        Defendants.

                                          ORDER
                                        (May 11, 2022)

       For the reasons set forth in the accompanying Memorandum Opinion, the Court GRANTS

IN PART Defendants’ [23] Motion to Dismiss as to the claims of the Federal Employee Plaintiffs.

The Court ORDERS that this case is DISMISSED without prejudice as to the following Plaintiffs:

Steven Church, Lesley Church, Alma Gonzalez, Dynika Barnwell, Douglas Czerwinski, Jason

Coffey, Joshua Schmidt, Melina Royer, Tamika Walls, Jaime Espitia, Somer Stephens, Alex

Berne, Alan Camp, Stephanie Perrotta, Christopher Axtell, Grace Brown, Kristofor Hallfrisch, and

Dorothy Morgan.     As such, there are no remaining claims pending against the following

Defendants, who shall be DISMISSED from the case: Antony Blinken, Janet Yellen, Merrick

Garland, Debra Ann Haaland, Thomas Vilsack, Gina M. Raimondo, Martin J. Walsh, Xavier

Becerra, Marcia L. Fudge, Peter Buttigieg, Jennifer Granholm, Miguel Cardona, Alejandro

Mayorkas, Clarence W. Nelson II, Kilolo Kijakazi, Robin Carnahan, and Denis McDonough.

       The Court HOLDS IN ABEYANCE the remainder of Defendants’ [23] Motion to

Dismiss.

       Dated: May 11, 2022

                                                                 /s/
                                                            COLLEEN KOLLAR-KOTELLY
                                                            United States District Judge
